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                      IN THE UNITED STATES DISTRICT COURT FOR THE
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                                EASTERN DISTRICT OF CALIFORNIA
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        HOWARD GORDON, Jr.,                 )                CV 08-0494 AWI
11                                          )                (CR 06-0059 AWI)
                          Petitioner,       )
12                                          )                ORDER GRANTING WRIT,
              v.                            )                VACATING ORDER OF
13                                          )                JUDGMENT AND ORDERING
        UNITED STATES OF AMERICA,           )                NEW ENTRY OF JUDGMENT
14                                          )
                          Respondent.       )
15      ____________________________________)
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17          On April 7, 2008, petitioner Howard Gordon, Jr. (“Petitioner”) moved to correct, vacate
18   or set aside his sentence of 57 months custody imposed for violation of one count of 21 U.S.C.
19   §§ 841(a)(1), 841(1)(b)(B), and 846, attempted possession with intent to distribute cocaine and
20   aiding and abetting. The sole basis for Petitioner’s motion pursuant to 28 U.S.C. § 2255 is his
21   allegation that he suffered ineffective assistance of counsel when he specifically requested that a
22   notice of appeal be filed and his attorney refused because the right to appeal had been waived in
23   the plea agreement. In an order filed on December 12, 2008, the court directed counsel for the
24   government to file notice of intent to contest or not contest Petitioner’s allegation that he made a
25   specific request of his attorney to file a notice of appeal. Doc. # 396. In the same order, the court
26   notified Petitioner that in the absence of any notice to the contrary, the court would assume that
27   Petitioner wishes to proceed to file a notice of appeal and a subsequent appeal despite the
28   potential adverse consequences of such action. On March 17, 2009, the government filed a
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 1   notice of non-opposition. As of this writing, Petitioner has not notified the court of any intent to
 2   not pursue an appeal.
 3          The court has previously discussed the obligation of defense counsel to file a notice of
 4   appeal under United States v. Sandoval-Lopez, 409 F.3d 1193 (9th Cir. 2005), and that
 5   discussion need not be repeated here. In brief, where, as here, it is not disputed that a defendant
 6   specifically requested that a notice of appeal be filed within the statutory time limit and the notice
 7   of appeal was not timely filed, the court must find prejudicial ineffective assistance of counsel
 8   even though the right to appeal was specifically waived by the plea agreement. Id. at 1198.
 9   Where ineffective assistance is found, the remedy is to vacate and reenter judgment thereby
10   allowing the timely filing of a notice of appeal.
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12          THEREFORE, for the reasons discussed here and as discussed in the court’s prior orders
13   in Documents #’s 392 and 396 it is hereby ORDERED that the judgment that was previously
14   entered as to Petitioner on June 13, 2007 is hereby VACATED. The Clerk of the Court shall
15   reenter judgment as of the date of filing of this order. The Clerk of the court shall electronically
16   serve this order on Petitioner’s attorney of record at the time of sentencing, Mr. Richard
17   Barnwell. Mr. Barnwell is hereby ORDERED to complete and file a NOTICE of APPEAL with
18   the Ninth Circuit Court of Appeal within ten (10) days of the date of service of this order. In the
19   event that Mr. Barnwell is unable to complete and file the notice of appeal within the ten-day
20   period, he is ORDERED to contact the court forthwith and the court will vacate and reenter
21   judgment as needed to permit timely filing of the notice of appeal. Mr. Barnwell is hereby
22   informed that Petitioner’s address of record is F.C.I. Terminal Island, San Pedro California,
23   #43652-112.
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25   IT IS SO ORDERED.
26   Dated:     July 13, 2009                           /s/ Anthony W. Ishii
     0m8i78                                    CHIEF UNITED STATES DISTRICT JUDGE
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